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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

Tyler Gischel,                                :
                                              :          Case No. 1:17-cv-475
       Plaintiff,                             :
                                              :          Judge Susan J. Dlott
                 v.                           :
                                              :          Order Denying Motion to Quash
University of Cincinnati, et al.,             :          Subpoena and Granting Motion to
                                              :          Compel
       Defendants.                            :



       This matter is before the Court on the United States Department of Education’s Motion to

Quash Subpoena (Doc. 20) and Plaintiff’s Motion to Compel a Subset of Documents Sought in

Plaintiff’s Subpoena to the United States Department of Education (“Motion to Compel”) (Doc.

22). In this suit, Plaintiff Tyler Gischel alleges gender discrimination against the University of

Cincinnati (“UC”) and UC officials after he was expelled from UC as a sanction for being found

responsible for the sexual assault of a female student. He asserts that UC was biased against him

in the disciplinary proceedings because, in part, UC felt pressure from the Office of Civil Rights

(“OCR”) within the U.S. Department of Education (“DOE”) to provide preferential treatment in

favor of female students who accuse male students of sexual misconduct. (Doc. 10 at PageID

729–51.) The DOE is not a party in this suit.

       Gischel has issued a subpoena duces tecum to the DOE. The DOE seeks to quash the

subpoena on procedural and substantive grounds. Gischel seeks to compel production of the

responsive documents. For the reasons that follow, the Court will DENY the Motion to Quash

Subpoena and GRANT the Motion to Compel.



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I.       PROCEDURAL HISTORY AND THE DEPARTMENT OF EDUCATION’S
         TOUHY REGULATIONS

A.       Subpoena

         Gischel served a subpoena duces tecum dated February 16, 2018 on the DOE on or about

February 20, 2018. (Doc. 20-1 at PageID 1638–43.) Gischel seeks the DOE to produce the

following documents:

         1. All document(s) and communication(s) created between April 4, 2011 and
         April 30, 2016 that relate to any sexual misconduct investigation(s) DOE
         conducted regarding UC’s implementation of Title IX.

         2. All document(s) and communication(s) created between April 4, 2011 and
         August 30, 2016 that relate to any sexual misconduct complaint DOE received
         regarding UC’s implementation of Title IX.

(Id. at PageID 1642.) Significantly, both the terms “document” and “communication” are

defined in the subpoena to exclude “documents: (a) DOE provided to UC, or (b) UC provided to

DOE.” (Id.) Gischel is excluding from the subpoena request, therefore, documents that he

otherwise could obtain in discovery from UC. In drafting and serving the subpoena upon the

DOE, Gischel explicitly provided “ADDITIONAL INFORMATION” intended to bring the

subpoena into compliance with the DOE’s Touhy regulations set forth immediately below. (Id.

at PageID 1643.)

B.       The DOE Touhy Regulations

         Federal agencies have discretion to restrict the testimony of employees and the

production of agency documents through promulgated regulations. Touhy v. Ragen, 340 U.S.

462, 468–69 (1951). The so-called federal housekeeping statute provides as follows:

         The head of an Executive department or military department may prescribe
         regulations for the government of his department, the conduct of its employees,
         the distribution and performance of its business, and the custody, use, and
         preservation of its records, papers, and property. This section does not authorize

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           withholding information from the public or limiting the availability of records to
           the public.

5 U.S.C. § 301. The relevant DOE Touhy regulations are set forth at 34 C.F.R. §§ 8.1 et seq.

           The procedures in the regulations are to be followed when the DOE or an employee of

the DOE receives a demand (1) to testify regarding DOE records or information or (2) to produce

or disclose records or information. 34 C.F.R. § 8.1(a). A demand for testimony or for records

“[m]ust be in writing” and “[m]ust state the nature of the requested testimony or records, why the

information sought is unavailable by any other means, and the reason why the release of the

information would not be contrary to an interest of the Department or the United States.” 34

C.F.R. § 8.3(a)(1) & (2).

           Employees of the DOE are prohibited from producing records in response to a demand

“without the prior written authorization of the Secretary.” 34 C.F.R. § 8.5(b). The Secretary

“may make the records available” if three requirements are met: (1) the requirements of § 8.3

are satisfied; (2) the disclosure would be appropriate under the Federal Rules of Civil Procedure;

and (3) the disclosure “[w]ould not be contrary to an interest of the United States, which includes

furthering a public interest of the Department and protecting the human and financial resources

of the United States.” 34 C.F.R. § 8.5(c). The DOE Secretary has delegated her responsibility to

the head of each DOE principal office—the Regional Director of the OCR’s Cleveland, Ohio

office in this case.1




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     https://www2.ed.gov/about/offices/list/om/docs/delegations/fs_general_ea_varied2.pdf.
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C.     The DOE Response and Gischel’s Attempt to Compromise

       Citing the Touhy regulations, the OCR Regional Director declined to comply with the

subpoena on behalf of the DOE. (Doc. 20-2 at PageID 1677–84.) She objected that the request

was overly broad and unreasonably burdensome under Rules 26 and 45 of the Federal Rules of

Civil Procedure. Although she did not provide a privilege log, she also stated that the requested

documents contain private and confidential information which is protected from disclosure. The

OCR Regional Director also objected that the production of the documents requested might have

a chilling effect on OCR enforcement activities. Finally, she suggested that Gischel submit a

Freedom of Information Act request in lieu of the subpoena. (Id.)

       Gischel then offered to compromise. He offered to limit the scope of the requested

documents to only documents and communications from those DOE employees involved in an

investigation or inquiry at UC during the relevant time frame. (Doc. 22 at PageID 1695–96;

Doc. 22-3 at 1890.) He also offered to allow the DOE to redact personally identifiable

information or use pseudonyms in lieu of student names to address the DOE’s privacy and

confidentiality concerns. (Doc. 22 at PageID 1695; Doc. 22-3 at PageID 1890–91.)

II.    ANALYSIS

A.     Procedural Issue

       The DOE and Gischel disagree as to how the Court should proceed. The DOE asserts

that if Gischel is dissatisfied with its response to his Touhy subpoena, then his remedy is to file a

separate action against the DOE pursuant to the Administrative Procedure Act (“APA”), 5

U.S.C. § 701, et seq. The APA provides a right of judicial review for a person aggrieved by a

federal agency action. 5 U.S.C. § 702. The APA requires the reviewing court to set aside

agency actions or findings found to be “arbitrary, capricious, an abuse of discretion, or otherwise
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not in accordance with law.” 5 U.S.C. § 706(2)(A). The “proper remedy” if the reviewing court

determines that the agency decision was improper is to remand the issue back to the agency “for

further investigation and explanation.” OhioHealth Corp. v. U.S. Dep’t of Veteran Affairs, No.

2:14-cv-292, 2014 WL 4660092, at *7 (S.D. Ohio Sept. 17, 2014). Gischel, on the other hand,

asserts that the Court has authority to determine in this case, without a separate APA action,

whether to quash the subpoena or compel the production of the requested documents pursuant to

the Federal Rules of Civil Procedure.

       There is a split of authority in the federal courts as to how to proceed. Some courts in the

Sixth Circuit have held that the APA provides the sole avenue for review of an agency’s decision

to refuse to comply with a Touhy subpoena. See, e.g., Rimmer v. Holder, 700 F.3d 246, 262–63

(6th Cir. 2012) (stating that a state court litigant whose Touhy request has been denied by the

agency may seek a federal court to review the denial under the APA); OhioHealth Corp., 2014

WL 4660092, at *2–3 (applying APA review to Touhy subpoenas for deposition testimony

issued in state court litigation); U.S. v. Threet, No. 09-20523-05, 2011 WL 5865076, at *1 (E.D.

Mich. Nov. 22, 2011) (“Moreover, if Defendant is dissatisfied with the DEA’s response to his

Touhy request, his remedy is an action against the DEA pursuant to the Administrative

Procedures Act, and not pursuant to a motion to compel.”). However, two of the three decisions,

Rimmer and OhioHealth, are readily distinguishable by the fact that the subpoenas in those cases

were issued by state courts. There is no dispute that, because of the doctrine of sovereign

immunity, the sole remedy for a state court litigant whose Touhy request is denied is judicial

review in federal court under the APA. See Rimmer, 700 F.3d at 262 (explaining that the

doctrine of sovereign immunity bars a state court from enforcing a subpoena against the federal

government) (emphasis added); In re Packaged Ice Antitrust Lit., No. 08-md-01952, 2011 WL
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1790189, at *2 (E.D. Mich. May 10, 2011) (stating that “legitimate issues of sovereign immunity

may be implicated where federal officials are responding to state court subpoenas”) (emphasis in

the original).

        Additionally, other district courts in the Sixth Circuit have enforced federal subpoenas

under Rules 26 and 45, without separate APA actions applying arbitrary and capricious review.

See Packaged Ice, 2011 WL 1790189, at *2–3; see also Gardner v. Mich. State Univ., No. 1:12-

cv-1018, 2013 WL 5320282, at *3–4 (W.D. Mich. Sept. 20, 2013) (citing favorably to Packaged

Ice). The Packaged Ice court disagreed with a Department of Justice argument that it could only

be forced to comply with a subpoena in a separate court action filed under the APA. 2011 WL

1790189, at *2. The court began its analysis stating that “in a federal court action, sovereign

immunity cannot bar a federal court from enforcing a federal subpoena against the federal

government.” Id. The court then recognized that the Sixth Circuit had not determined the issue,

but it found that the Sixth Circuit would conclude that “Federal Rule of Civil Procedure 45 and

various available privilege rules provide sufficient limitations on discovery to adequately address

legitimate governmental interests in objecting to a motion to compel compliance with a valid

federal court subpoena.” Id.

        Additionally, as recognized by the Gardner court, the Sixth Circuit provided instructive

analysis about how a district court should proceed when a different federal agency regulation

conflicted with discovery rules set forth in the Federal Rules of Civil Procedure. 2014 WL

5320282, at *3. The Sixth Circuit in In re Bankers Trust Co., 61 F.3d 465 (6th Cir. 1995),

addressed regulations issued by the Federal Reserve Board that prohibited the non-government

defendant from disclosing certain confidential documents to plaintiff which were discoverable

under Rule 34 of the Federal Rules of Civil Procedure. The Sixth Circuit explained that “Rule
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34, as enforced through Rule 37, clearly authorizes the district court to order [the defendant]

Bankers Trust to turn over those documents in its possession [to the plaintiff] while the Board’s

regulations specifically prohibit such a disclosure.” Id. at 469. The Sixth Circuit determined to

enforce the supremacy of Rule 34:

         [A Federal Reserve Board regulation] that requires a party that is served with a
         subpoena, order, or other judicial process to continually decline to disclose
         information or testimony exceeds the congressional delegation of authority and
         cannot be recognized by this court. Such a regulation is plainly inconsistent with
         Rule 34 and cannot be enforced. To allow a federal regulation issued by an
         agency to effectively override the application of the Federal Rules of Civil
         Procedure and, in essence, divest a court of jurisdiction over discovery, the
         enabling statute must be more specific than a general grant of authority as found
         here.

Id. at 470 (footnote omitted). This Court, likewise, concludes the DOE’s Touhy regulations

should not be read to prohibit this Court from applying the Federal Rules of Civil Procedure to

compel the production of documents pursuant to an otherwise enforceable subpoena.

         For these reasons, the Court will determine in this action whether to quash the subpoena

or compel the production of responsive documents following Rules 26 and 45.

B.       Discoverability Analysis

         Rule 26 generally governs the scope of discovery:

         Parties may obtain discovery regarding any nonprivileged matter that is relevant
         to any party’s claim or defense and proportional to the needs of the case,
         considering the importance of the issues at stake in the action, the amount in
         controversy, the parties’ relative access to relevant information, the parties’
         resources, the importance of the discovery in resolving the issues, and whether the
         burden or expense of the proposed discovery outweighs its likely benefit.
         Information within this scope of discovery need not be admissible in evidence to
         be discoverable.

Fed. R. Civ. P. 26(b)(1).




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       Rule 45 permits the party serving a subpoena to “move the court for the district where

compliance is required for an order compelling production or inspection.” Fed. R. Civ. P.

45(d)(2)(B)(i). Likewise, Rule 45 requires the court to quash or modify a subpoena that

“requires disclosure of privileged or other protected matter, if no exception or waiver applies” or

“subjects a person to undue burden.” Fed. R. Civ. P. 45(d)(3)(A)(iii) & (iv).

       Gischel, as the party issuing the subpoena, has the burden to establish that the discovery

sought is relevant if the relevancy is not apparent on the face of the request. See Hendricks v.

Total Quality Logistics, LLC, 275 F.R.D. 251, 253 (S.D. Ohio 2011); Am. Elec. Power Co., Inc.

v. U.S., 191 F.R.D. 132, 136 (S.D. Ohio 1999). However, the DOE, as the party moving to

quash the subpoena, bears the ultimate burden of proof. Hendricks, 275 F.R.D. at 253. “Undue

burden is to be assessed in a case-specific manner considering ‘such factors as relevance, the

need of the party for the documents, the breadth of the document request, the time period

covered by it, the particularity with which the documents are described and the burden

imposed.’” In re Modern Plastics Corp., — F. App’x —, 2018 WL 195936, at *4 (6th Cir. Apr.

26, 2018) (quoting Am. Elec. Power, 191 F.R.D. at 136). “Courts are required to balance the

need for discovery against the burden imposed on the person ordered to produce documents, and

the status of a person as a non-party is a factor that weighs against disclosure.” In re Caresource

Mgmt. Group, Co.., 289 F.R.D. 251, 253 (S.D. Ohio 2013) (quoting Am. Elec. Power, 191

F.R.D. at 136).

       The Court finds that Gischel has established that the documents sought are relevant.

Gischel seeks to prove in this case that UC officials felt pressure from the OCR to discriminate

against males accused of sexual misconduct. The DOE acknowledges that there were four Title

IX complaints made with the OCR against UC during the 2011–2016 timeframe. (Ext Dec.,
                                                 8
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Doc. 20-3 at PageID 1686.) Also, Gischel has alleged that a UC official made a notation in his

disciplinary investigation file that the OCR had a Title IX investigation pending against UC.

(Doc. 1-9 at PageID 278.) An allegation that a university is being investigated by the OCR for

potential Title IX violations can tend to suggest that the university might be induced to

discriminate in disciplinary proceedings against a male accused of sexual misconduct. Cf. Doe v.

Miami Univ., 882 F.3d 579, 594 (6th Cir. 2018) (finding that the threat of a loss of federal funds

if the OCR determined the university did not vigorously combat sexual assault was part of the

allegations creating an inference of intentional gender discrimination against male students by

the university); Schaumleffel v. Muskingum Univ., No. 2:17-cv-463, 2018 WL 1173043, at *16

(S.D. Ohio Mar. 6, 2018) (listing “Muskingum’s fear of federal funding being cut if no action

was taken” as part of the sufficient general allegations of gender bias).

       The documents Gischel seeks from the DOE here—documents not in the possession of

UC—are relevant to whether UC made statements to the OCR that tend to indicate that it was

making gender-based decisions or had gender-based motivations in response to the OCR

investigation and complaints. Verbal statements made by UC officials to the OCR, and then

memorialized by the OCR or acted upon by the OCR, would not necessarily be found in

documents provided to or from UC. Therefore, Gischel has established that the OCR’s

responsive documents, if any, are relevant to his claims for purposes of Rules 26 and 45.

       Turning to other Rule 45 factors, the DOE has not met its burden to prove that the

subpoena is overly broad or unduly burdensome. The OCR Regional Chief Attorney described

the scope of responsive documents as follows:

       8.    A search of OCR’s Case Management System and Document
       Management System revealed four complaints that fall within the scope of the
       subpoena: OCR is currently investigating two of the complaints and the other two
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       were closed at the evaluation stage, meaning that OCR would not have had any
       communications with the University about them. In addition to searching through
       these four case files, a preliminary review of the electronic files for these cases
       reveals that responding to the subpoena would require searching Microsoft
       Exchange e-mail accounts belonging to, at a minimum, nine current [DOE]
       employees and three former [DOE] employees.

       9.      In addition, during the time periods covered by the subpoena, OCR
       Cleveland routinely sent internal general case management communications and
       reports, and OCR headquarters generated routine case lists, which may have
       mentioned cases regarding the University. As a result, it is conceivable that all
       OCR Cleveland team leaders, some acting team leaders, senior managers, other
       OCR regional managers and staff, all OCR headquarter recipients in Washington,
       D.C., and other [DOE] employees in Washington, D.C., may have responsive
       documents. Therefore, searching for responsive documents would require
       searching Microsoft Exchange e-mail accounts of potentially 600 or more former
       and current [DOE] employees.

       10.     Further, [DOE] would have to search for responsive records related to
       technical assistance inquiries, customer service requests, press inquiries, as well
       as any records released under the Freedom of Information Act (FOIA) that might
       mention the cases regarding the University. This would include searching records
       from OCR Cleveland, OCR Headquarters, [DOE]’s press office, and [DOE]’s
       FOIA Service Center.

       11.    Once the searches have been conducted, [DOE] would have duplication
       and review costs, which would include removing any personally identifiable
       information likely to be contained in many of the documents.

(Ext Dec., Doc. 20-3 at PageID 1686–87.)

       Complying with the subpoena will not be unduly burdensome given the concessions

Gischel has made about the scope of the discovery requested during the briefing on the pending

motion. Gischel has agreed to narrow the scope of his requests to only documents related to the

four OCR complaints detailed in ¶ 8 of the Ext Declaration. (Doc. 23 at PageID 2128; Doc. 26 at

PageID 2592.) Gischel also has agreed to narrow the scope of his requests to only the documents

and communications made by the twelve DOE employees involved with addressing the four

OCR complaints. Gischel states that “the twelve employees involved in these four complaints

are the only individuals in possession of documents which will likely reveal” UC’s gender-biased
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positions, directives, goals and/or strategies. (Doc. 26 at PageID 2588, 2592 (emphasis in the

original).) Therefore, UC would not have to check the email accounts of 600 DOE employees or

the records from other OCR offices as stated in ¶¶ 10–11 of the Ext Declaration.

       Finally, as to the DOE’s assertions regarding privacy and confidentiality concerns, the

Court lacks sufficient information to make a definitive ruling. The DOE has asserted these

concerns only in an abstract way without providing a privilege log to Gischel or the Court.

Gischel has stated that he is willing to have all personally-identifiable information redacted.

(Doc. 26 at PageID 2593.) The Court finds that the parties first should jointly attempt to resolve

the DOE’s privacy and confidentiality concerns before the Court addresses the issue.

III.   CONCLUSION

       For the foregoing reasons, the Motion to Quash (Doc. 20) is DENIED and the Motion to

Compel (Doc. 22) is GRANTED. The DOE and Gischel are hereby ordered to meet-and-confer

by telephone, teleconference, or in person—not solely by the exchange of written

correspondence—within two weeks of the date of this Order to attempt to resolve any privilege,

confidentiality, or privacy disputes. Thereafter, they shall contact the Court’s courtroom deputy,

William Miller, if they are unable to resolve their concerns and wish to request a discovery

conference.

IT IS SO ORDERED.

       Dated this __26th__ day of ______June______, 2018.


                                              BY THE COURT:


                                              s/Susan J. Dlott
                                              Susan J. Dlott
                                              United States District Judge
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